     AMENDED AND RESTATED LIMITED LIABILITY COMPANY AGREEMENT

                                               OF

                                 Three Points Center, LLC



                              A Colorado Limited Liability Company



                                  Effective as of August 12, 2021




The securities offered hereby have not been registered or qualified under the Securities Act
of 1933, as amended, or any state securities laws. Neither the United States Securities and
Exchange Commission nor any state securities regulatory authority has approved or
disapproved these securities, nor has any commission or authority passed upon or endorsed
the merits of this offering or the accuracy or adequacy of any disclosure made in
connection therewith. Any representation to the contrary is a criminal offense. The
securities offered hereby may not be offered, pledged, assigned, resold or otherwise
transferred unless registered or qualified under the Securities Act and applicable state
securities laws or pursuant to an exemption therefrom and the Company receives an
opinion of counsel satisfactory to the Board of Directors and its legal counsel that such sale,
pledge, assignment or transfer is exempt from the registration requirements of the
Securities Act and applicable state securities laws.




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Exhibit A - List of Members




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     AMENDED AND RESTATED LIMITED LIABILITY COMPANY AGREEMENT
                                OF
                               Three Points Center, LLC
        This Amended and Restated Limited Liability Company Agreement of Three Points
Center, LLC, is made and entered into effective as of August 12, 2021 , by and among the
Persons whose names are set forth as Members on Exhibit A (together with the parties who
become Members of the Company in accordance with the provisions of this Agreement and
whose names are added as Members on Exhibit A, each a "Member" and collectively the
"Members"), and the members of the Board of Directors, as the managers of the Company,
pursuant to the Act on the following terms and conditions. This Amended and Restated Limited
Liability Company Agreement amends and restates in its entirety that Limited Liability
Company Agreement, effective as of September 18 th , 2013 ("Limited Liability Company
Agreement), among Glenn Thibault, as attorney-in-fact for the Members, Glenn Thibault, as a
Director, Dr. Norm Thibault, as a Director, and Bruce Kellogg, as a Director and any other
amendments and supplements to the Limited Liability Company Agreement.

1. Organization.

       1. 1. Formation. On March 1 L 2013, the Certificate was filed in the office of the
Secretary of State of Colorado in accordance with and pursuant to the Act.

        1.2. Name and Place of Business. The name of the Company shall be Three Points
Center, LLC, and its principal place of business shall be 1068 Cypress Way, Castle Rock CO
80108. The Board may change such name, change such place of business or establish additional
places of business of the Company as the Board may determine to be necessary or desirable.

         1.3. Business and Purpose of the Company. The Company's business and purpose
shall consist of (i) the ownership, operation, management and financing thereof of a Residential
Treatment Center for adopted troubled adolescents, which may include such businesses owned
and operated through one or more wholly owned subsidiaries of the Company within or outside
the United States; (ii) such activities as are necessary or incidental in connection therewith; and
(iii) any or all other business or related activities approved by the Members in which limited
liability companies may engage under the Act and other applicable law.

       1.4. Term. The term of the Company shall continue until terminated in accordance
with subsequent provisions of this Agreement, or as otherwise provided by law.

       1.5. Required Filings.      An authorized officer of the Company shall execute,
acknowledge, file, record and/or publish such certificates and documents as may be required by
this Agreement or by law in connection with the formation and operation of the Company.

        1.6. Registered Office and Registered Agent. The Company's registered office and
registered agent shall be as provided in the Certificate. The Board may from time to time change
the registered office and registered agent by causing the address of the new registered office
and/or the name of the new registered agent to be filed pursuant to the Act.


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         1.7. Certain Transactions. Any Director, Member, Economic Interest Owner or any
Affiliate, or any shareholder, officer, director, employee, partner, manager, member or any
Person owning an interest therein, may engage in or possess an interest in any other business or
venture of any nature or description, whether or not competitive with the Company, and no
Director, Member, Economic Interest Owner or other Person shall have any interest in such other
business or venture by reason of their interest in the Company.

2.      Definitions. Unless otherwise provided herein or unless the context otherwise requires,
certain terms in this Agreement shall be defined according to the definitions set forth below.
These definitions, however, are provided as a matter of convenience and for reference. In the
event of any conflict between these definitions and the provisions of other sections of this
Agreement, such other sections shall prevail.

      "Act" shall mean the Colorado Limited Liability Company Act, as the same may be
amended from time to time.

         "Adjusted Capital Account Deficit" shall mean, with respect to any Member, the deficit
balance, if any, in such Member' s Capital Account as of the end of the relevant fiscal year, after
giving effect to the following adjustments: (i) credit to such Capital Account any amounts that
the Member is obligated to restore pursuant to any provision of this Agreement or is deemed to
be obligated to restore pursuant to applicable provisions of the Treasury Regulations; and (ii)
debit to such Capital Account the items described in Treasury Regulations Sections 1. 704-
1(b )(2)(ii)( d)( 4 ), 1. 704-1 (b )(2)(ii)( d)( 5), and 1. 704-1 (b )(2)(ii)(d)( 6).

         "Adjusted Capital Investment" shall refer to the actual cash or agreed upon value of
property or services contributed by a Member, plus any additional capital contributions by such
Member, plus one hundred percent (100%) of all taxable income allocated to such Member, less
Distributions to such Member and to any successor in interest. If any Person transfers all or a
portion of its interest in the Company in accordance with the terms of this Agreement, the
transferee shall succeed to the Adjusted Capital Investment of the transferor to the extent that it
relates to the transferred interest.

         "Affiliate" shall mean (i) any Person directly or indirectly controlling, controlled by or
under common control with another Person; (ii) a Person owning or controlling 10% or more of
the outstanding voting securities of such other Person; (iii) any officer, director, partner,
manager, trustee or anyone acting in a substantially similar capacity of such other Person; and
(iv) if such other Person is an officer, director, partner or manager, any company for which such
Person acts in any capacity.

      "Agreement" shall mean this Amended and Restated Limited Liability Company
Agreement of Three Points Center, LLC, as further amended from time to time.

        "Board" or "Board of Directors" shall mean the Board of Directors of the Company, as
constituted from time to time.

       "Capital Account" shall mean the Capital Account that shall be established, maintained
and adjusted for each Member in accordance with applicable rules of the Treasury Regulations.
Increases and decreases in the Capital Accounts of Members shall be made at the sole and


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absolute discretion of the Board and in accordance with applicable Treasury Regulations. The
foregoing provisions and any other provisions of this Agreement relating to the maintenance of
Capital Accounts are intended to comply with Section 1. 704-1 (b) of the Treasury Regulations,
and shall be interpreted and applied in a manner consistent with such Treasury Regulations. To
the extent any provision of this Agreement is inconsistent with such Treasury Regulations, such
Treasury Regulations (as the same may be amended or revised hereafter) shall control. If the
Board shall determine that it is prudent to modify the manner in which Capital Accounts, or any
debits or credits thereto, are computed or maintained in order to comply with such Treasury
Regulations, the Board is authorized to make such modifications. Any references in this
Agreement to the Capital Account of a Member shall be deemed to refer to such Capital Account
as the same may be debited or credited from time to time as set forth above. The Capital Account
of a Substituted Member shall include the Capital Account of his, her or its transferor.
References in this Agreement to the Treasury Regulations shall include corresponding
subsequent provisions.

        "Cash from Operations" shall mean the net cash realized by the Company from all
sources, including, but not limited to, the operations of the Company and/or its subsidiaries, if
any, after payment of all cash expenditures of the Company, including, but not limited to, all
operating expenses, including all fees, reimbursements and compensation due to employees,
officers and Directors of the Company, including any bonuses or other compensation payable
under any bonus or other compensation plan approved by the Board, all payments of principal
and interest on any indebtedness of the Company, expenses for repairs and maintenance, capital
improvements and replacements on any Property, and such reserves as the Board determines in
its sole discretion to be necessary and desirable in connection with the Company's operations
and with its then existing assets and any anticipated acquisitions, development projects,
financings or operations.

       "Certificate" shall mean the Articles of Organization of the Company as filed with the
Secretary of State of Colorado, as the same may be amended from time to time.

       "Code" shall mean the Internal Revenue Code of 1986, as amended, or corresponding
provisions of subsequently enacted federal revenue laws.

      "Company" shall refer to Three Points Center, LLC, a Colorado limited liability
company.

       "Company Minimum Gain" shall mean "partnership mm1mum gain" as set forth m
applicable provisions of the Treasury Regulations.

        "Director(s)" shall mean, at any time, the Persons then serving on the Board of Directors
of the Company, in accordance with this Agreement. Reference to a Director shall be to any one
of the Directors.

       "Distribution(s)" shall refer to any money or other property transferred without
consideration to Members or Unit Holders with respect to their interests or Units in the
Company.




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        "Economic Interest" shall mean an interest in the Net Income, Net Loss and Distributions
of the Company but shall not include any right to vote or to participate in the management of the
Company.

     "Economic Inten:st Owner" shall mean the owner of an Economic Interest who is not a
Member.

       "Majority Vote" shall mean the vote and/or approval of Members who own more than
50% of the Units entitled to vote. Members shall be entitled to cast one vote for each Unit they
own. Units repurchased by and held by the Company shall not be entitled to vote on any matter.

        "Member(s)" shall refer to the Persons who have been admitted to the Company as
Members in accordance with the provisions of this Agreement. Reference to a Member shall be
to any one of the Members.

       "Member Minimum Gain" shall mean "partner nonrecourse debt minimum gain" as
determined under applicable provisions of the Treasury Regulations.

       "Member Nonrecourse Debt" shall mean "partner nonrecourse debt" as set forth m
applicable provisions of the Treasury Regulations.

       "Member Nonrecourse Deductions" shall mean "partner nonrecourse deductions," and
the amount thereof shall be, as set forth in applicable provisions of the Treasury Regulations.

      "Membership Interest" shall mean a Member's entire interest in the Company including
such Member's Economic Interest and such voting and other rights and privileges that the
Member may enjoy by being a Member.

        "Net Income" shall mean the excess of: (a) those items of income and gain identified in
Treasury Regulations Section 1.704-1(b)(2)(iv) that increase a Member's Capital Account under
that section over (b) those items of deduction and loss identified in Treasury Regulations Section
1.704-l(b)(2)(iv), other than Nonrecourse Deductions that decrease a Member's Capital Account
under that section.

        "Net Loss" shall mean the excess of: (a) those items of deduction or loss identified in
Treasury Regulations Section 1.704-l(b)(2)(iv) that decrease a Member's Capital Account under
that section, other than Nonrecourse Deductions, over (b) those items of income and gain
identified in Treasury Regulations Section 1. 704-1 (b )(2)(iv) ihal would increase a Member's
Capital Account under that section.

       "Nonrecourse Debt" shall have the meaning set forth in Treasury Regulations Section
1.704-2(b)(3 ).

        "Nonrecourse Deductions" shall have the meaning, and the amount thereof shall be, as
set forth in Treasury Regulations Section 1.704-2(c).

      "Original Capital Investment" with respect to an individual Member, a group of
Members, or all of the Members shall refer to gross proceeds to the Company from the sale of


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Units to such Member or Members, or the agreed upon value of property or services contributed
by a Member, and any subsequent capital contributions made by or agreed to be contributed by
such Member at the time of the Member's original purchase of the Units. Original Capital
Investment shall not include amounts paid to any Person with respect to any assignment of Units
or any interest therein or to any substitution of a Member.

         "Person(s)" shall mean any individual, partnership, corporation, trust, estate, limited
liability company, unincorporated association or other legal entity.

       "Property" shall refer to any or all of such real and tangible or intangible personal
property or properties as may be acquired by the Company.

           "Regulatory Allocations" shall mean the allocations in Section 4.2.

           "Securities Act" shall mean the Securities Act of 1933, as amended.

         "Substituted Member" shall mean any Person admitted as a substituted Member pursuant
to this Agreement.

        "Treasury Regulations" means regulations promulgated under the Code, as such
regulations may be amended and in effect from time to time, or any corresponding provisions of
subsequently enacted regulations.

       "Unit" shall represent an interest in the Company entitling the owner of the Unit, if
admitted as a Member, to the respective voting and other rights afforded to a Member holding a
Unit, and affording to such Member a share in Net Income, Net Loss and Distributions as
provided for in this Agreement.

           "Unit Holder" shall mean a Member or the holder of an Economic Interest.

3.         Capitalization and Financing.

           3.1.   Members' Capital Investments; Issuance of Units.

                3.1.1.     Units. Subject to Sections 3.4 and 3.5, the Company is hereby
authorized to sell and issue Units in such amounts, at such times, to such Persons and on such
terms and conditions as the Board shall determine in its sole and absolute discretion, and to
admit the persons who acquire such Units as Members. The Company will not sell twenty-five
percent (25%) or more of the Units to qualified benefit plans. The Company may not issue
fractional Units.

                3.1.2.       Directors and Officers as Members. Any Director or officer of the
Company may purchase Units on such terms as are approved by the Board. As a result, Directors
and officers may be admitted to the Company as Members with respect to such Units and would
be entitled to all rights as Members appurtenant thereto, including, but not limited to, the right to
allocations of Net Income and Net Loss and to receive Distributions attributable to the Units so
purchased and to vote on certain Company matters as provided for in this Agreement.



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                3.1.3.    Admission of a Member. To the extent required by law, the Board
shall cause this Agreement to be amended and shall take such other action, as the Board deems
necessary or appropriate, promptly after receipt and acceptance of a Member's Original Capital
Investment to reflect the admission of such person to the Company as a Member. Except as
otherwise provided in this Agreement, no Unit Holder shall have the right to receive the return of
any Original Capital Investment and no interest shall be paid with respect to any Original Capital
Investment.

                 3.1.4.     Liabilities of Members. Except as specifically provided in this
Agreement or the Act, neither the Directors nor any Member shall be required to make any
additional contributions to the Company and no Director or Member shall be liable for the debts,
liabilities, contracts, or any other obligations of the Company, nor shall the Directors or the
Members be required to lend any funds to the Company or to repay to the Company, any
Member, or any creditor of the Company any portion or all of any Adjusted Capital Account
Deficit.

               3.1.5.    No Certificates. No certificates representing Units will be issued
unless otherwise determined in the Board's sole discretion.

        3 .2. Officer, Director and Member Loans. The officers, Directors, Members or their
Affiliates may, but will have no obligation to, make loans to the Company to pay Company
operating expenses. Any such loan shall bear interest at the actual cost of funds to the party
making such loan, but in no event greater than the highest rate allowed by law, and provide for
the payment of principal and any accrued but unpaid interest in accordance with the terms of the
promissory note evidencing such loan, but in no event later than the termination and dissolution
of the Company or the termination or removal from office of the party making such loan.

        3.3. Company Loans. The Company may obtain loans or other debt financing to fund
the Company' s operations or otherwise as deemed necessary or desirable in the sole and absolute
discretion of the Board from one or more lenders. Any such loans or financing shall be on such
terms as the Board shall determine in its sole and absolute discretion, which may include without
limitation the issuance of Units and/or warrants, options or other rights to acquire Units to any
such lender, and which may or may not be secured by the Property. Each Unit Holder shall be
required to, and hereby represents and warrants it shall cooperate in all reasonable respects with
any request made by the Board, or a lender who is considering a loan or other financing. This
cooperation shall include without limitation the obligation to execute all documents (other than
recourse documents) and provide all information that is requested of the Unit Holder, and which
are reasonably desirable for the purposes of the lender or the Board in connection with such
financing efforts. All parties to this Agreement hereby consent in advance to any loans or other
debt financing obtained in accordance with this Section 3.3.

          3 .4.   Additional Financing.

                3 .4 .1.   The Board may determine, at any time and from time to time in its sole
discretion, to pursue additional financing for the Company from sources it deems appropriate,
including but not limited to the issuance and sale of debt securities or additional Units or classes




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of Units in one or more offerings or transactions, on such terms and conditions as the Board, in
its sole discretion, shall deem necessary or desirable.

               3.4.2.      Any new Units or classes of Units authorized by the Board for an
additional financing described in Section 3.4.1 shall immediately become available for
acquisition at such purchase prices and other terms of sale as shall reasonably be fixed by the
Board, and each Member shall be given written notice of such declaration and of the terms of
such sale. The purchase price of each additional Unit shall generally not be less than the then
value of an existing Unit based on an existing Unit's interest in the Company, unless the
additional Units to be offered represent a different class of Units with such terms and conditions
as the Board reasonably determines would justify a lower price. Such valuation shall be
performed by the Board and such valuation shall be conclusive and final.

                3.4.3.      The Directors or their Affiliates may purchase all or a portion of the
additional Units and/or the Directors may offer and sell all or a portion of such Units on the
terms set forth in this Section 3.4 to any Person of their selection.

                3 .4.4.    All the parties to this Agreement hereby consent in advance to the
addition as additional Members of any Person that, at any time in the future, may acquire Units
in the manner prescribed in this Section 3.4. The Board shall conduct the sale of any such Units
to any such parties in any manner as the Board, with the advice of the Company's legal counsel,
shall consider appropriate in the circumstances.

       3.5. Warrants, Options and Similar Rights. The Company may, upon the approval of
the Board in its sole and absolute discretion, issue warrants, options and similar rights to acquire
Units, which may include the issuance of restricted Units, to Directors, officers, other employees
and consultants of the Company on such terms and conditions and for such purposes as the
Board may determine, which may include for the purpose of providing incentive or other
compensation. The total number of Units underlying warrants, options or similar rights issued
pursuant to this Section 3.5 shall not, in the aggregate, exceed twenty percent (20%) of the
outstanding Units on a fully diluted basis (not including Units repurchased and held by the
Company) at the time of issuance of such warrant, option or right, nor may the Company issue
warrants, options or similar rights to acquire, in the aggregate, more than ten percent (10%) of
the outstanding Units on a fully diluted basis (not including Units repurchased and held by the
Company) as of the time of issuance of such warrant, option or right during any calendar year.

        3.6. Reserves. The Board may establish reserves in such amount as the Board
determines in its sole discretion to be necessary and desirable in connection with the Company' s
operations. The amount held in reserves, if any, may be used by the Board in its sole discretion
for any Company purpose including, but not limited to, the payment of Distributions. The Board
may in its discretion invest funds held in reserve in cash equivalents including, but not limited to,
certificates of deposit, commercial paper, treasury bills, money market accounts and other high
quality, short-term investments that may easily be converted into cash. Any income earned
thereon need not be retained in reserves but may be added to the general funds of the Company
and used and/or distributed according to this Agreement.




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4.        Allocation of Tax Items.

        4.1. Net Income and Net Loss Allocations. For each fiscal year, after giving effect to
the allocations set forth in Sections 4.2 and 4.3, Net Income and Net Loss shall be allocated as
follows . Net Income will be allocated to Members in proportion to the Distributions previously
made or which are reasonably expected to be made after the end of the taxable year and with
respect to which Net Income has not previously been allocated. If no Distributions have been
made or are expected to be made, Net Income will be allocated to the Members in the ratio their
Capital Account bears to the sum of the Capital Accounts of all Members. Net Loss will be
allocated to the Members in the ratio their Capital Account bears to the sum of the Capital
Accounts of all Members.

       4.2. Special Allocations. The following overriding special allocation rules shall apply
notwithstanding anything to the contrary in this Section 4.

                4.2.1.      Qualified Income Offset. ln the event any Member unexpectedly
receives any adjustments, allocations, or distributions described in Treasury Regulations Sections
1.704-l(b)(2)(ii)(d)(4), l.704-l(b)(2)(ii)(d)(5), or l.704-l(b)(2)(ii)(d)(6), items of Company
income and gain shall be specially allocated to each such Member in an amount and manner
sufficient to eliminate, to the extent required by the Treasury Regulations, the Adjusted Capital
Account Deficit of such Member as quickly as possible, provided that an allocation pursuant to
this Section 4.2.1 shall be made only if and to the extent that such Member would have an
Adjusted Capital Account Deficit after all other allocations provided for in this Section 4 have
been tentatively made as if this Section 4.2.1 were not in this Agreement.

                4.2.2.     Gross Income Allocation. In the event any Member has an Adjusted
Capital Account Deficit at the end of any taxable year that is in excess of the sum of (i) the
amount such Member is obligated to restore pursuant to any provision of this Agreement, and (ii)
the amount such Member is deemed to be obligated to restore pursuant to the penultimate
sentences of Treasury Regulations 1.704-2(g)(l) and 1.704-2(i)(5), each such Member shall be
specially allocated items of Company income and gain in the amount of such excess as quickly
as possible, provided that an allocation pursuant to this Section 4.2.2 shall be made only if and to
the extent that such Member would have an Adjusted Capital Account Deficit in excess of such
sum after all other allocations provided for in this Section 4 have been made as if this Section
4.2.2 were not in this Agreement.

                 4.2.3.     Company Minimum Gain Chargeback. Except as otherwise provided
in Treasury Regulations Section l.704-2(f), notwithstanding any other provision of this Section
4, if there is a net decrease in Company Minimum Gain during any Company fiscal year, each
Member shall be specially allocated items of Company income and gain for such year (and, if
necessary, subsequent years) in an amount equal to such Member's share of the net decrease in
Company Minimum Gain, determined in accordance with Treasury Regulations Section 1. 704-
2(g). Allocations pursuant to the previous sentence shall be made in proportion to the respective
amounts required to be allocated to each Member pursuant thereto. The items to be so allocated
shall be determined in accordance with Treasury Regulations Sections 1.704-2(±)(6) and 1.704-


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20)(2). This Section 4.2.3 is intended to comply with the minimum gain chargeback requirement
in Treasury Regulations Section 1.704-2(£) and shall be interpreted consistently therewith.

                 4.2.4.      Member Minimum Gain Chargeback. Except as otherwise provided in
Treasury Regulations Section l. 704-2(i)( 4), notwithstanding any other provision of this Section
4, if there is a net decrease in Member Minimum Gain, any Member with a share of that Member
Minimum Gain (as determined under Treasury Regulations Section 1.704-2(i)(5)) as of the
beginning of the year shall be allocated items of Company income and gain for such year (and, if
necessary, subsequent years) in an amount equal to such Member's share of the net decrease in
Member Minimum Gain, determined in accordance with Treasury Regulations Section 1. 704-
2(g)(2). This section shall not apply to the extent the net decrease in Member Minimum Gain
arises because the liability ceases to be Member Nonrecourse Debt due to conversion,
refinancing or other change in a debt instrument that causes it to be partially or wholly a
Nonrecourse Debt. This section is intended to comply with partner minimum gain chargeback
requirements in the Treasury Regulations and shall be interpreted consistently therewith and
applied with the restrictions attributable thereto.

              4.2.5.    Nonrecourse Deductions. Nonrecourse Deductions for any fiscal year
or other period shall be allocated to the Members in proportion to their Units, and each
Member's share of excess Nonrecourse Debt shall be in the same proportion.

              4.2.6.      Member Nonrecourse Deductions. Any Member Nonrecourse
Deductions for any fiscal year shall be specially allocated to the Member who bears the
economic risk of loss as set forth in Treasury Regulations Section 1.752-2 with respect to the
Member Nonrecourse Debt. If more than one Member bears the economic risk of loss for a
Member Nonrecourse Debt, any Member Nonrecourse Deductions attributable to that Member
Nonrecourse Debt shall be allocated among the Members according to the ratio in which they
bear the economic risk of loss.

                4.2.7.     Code Section 754 Adjustments. To the extent an adjustment to the
adjusted tax basis of any Company asset pursuant to Code Section 734(b) or Code Section
743(b) is required, pursuant to Treasury Regulations Section 1.704-l(b)(2)(iv)(m), to be taken
into account in determining Capital Accounts, the amount of such adjustment to the Capital
Accounts shall be treated as an item of gain (if the adjustment increases the basis of the asset) or
loss (if the adjustment decreases such basis), and such gain or loss shall be specially allocated to
the Members in a manner consistent with the manner in which their Capital Accounts are
required to be adjusted pursuant to such section of the Treasury Regulations.

       4.3. Curative Allocations. Notwithstanding any other provision of this Agreement, the
Regulatory Allocations shall be taken into account in allocating items of income, gain, loss and
deduction among the Members so that, to the extent possible, the net amount of such allocations
of other items and the Regulatory Allocations to each Member shall be equal to the net amount
that would have been allocated to each such Member if the Regulatory Allocations had not
occurred.

     4.4. Contributed Property. Notwithstanding any other provision of this Agreement, the
Members shall cause depreciation and or cost recovery deductions and gain or loss attributable to


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Property contributed by a Member or revalued by the Company to be allocated among the
Members for income tax purposes in accordance with Section 704( c) of the Code and the
Treasury Regulations promulgated thereunder.

        4.5. Allocation Among Units. Except as otherwise provided in this Agreement, all
Distributions and allocations made to the Units shall be in the ratio of the number of Units held
by each such Member on the date of such allocation (which allocation date shall be deemed to be
the last day of each month) to the total outstanding Units as of such date (not including Units
repurchased and held by the Company), and, except as otherwise provided in this Agreement,
without regard to the number of days during such month that the Units were held by each
Member. Members who purchase Units at different times during the Company tax year shall be
allocated Net Income and Net Loss using any conventions permitted by law and selected by the
Board. For purposes of this Section 4, an Economic Interest Holder shall be treated as a Member.

        4.6. Allocation of Company Items. Except as otherwise provided herein, whenever a
proportionate part of Net Income or Net Loss is allocated to a Member, every item of income,
gain, loss or deduction entering into the computation of such Net Income or Net Loss, and every
item of credit or tax preference related to such allocation and applicable to the period during
which such Net Income or Net Loss was realized shall be allocated to the Unit Holder in the
same proportion.

        4.7. Transferred Units. If any Unit or any portion thereof is transferred during any
period, the Net Income and Net Loss and all other items attributable to such Unit or portion
thereof for such period shall be divided and allocated between the transferor and the transferee
by taking into account their varying interests during the period in accordance with Code Section
706( d), using any conventions permitted by law and selected by the Board, in its sole discretion.
Solely for purposes of making such allocations, the Company shall recognize the transfer of such
Unit or portion thereof not later than the end of the calendar month during which it receives
adequate notice of such transfer, provided that if the Company does not receive adequate notice
stating the date such Unit or portion thereof was transferred and such other information as the
Board may reasonably require within thirty days after the end of the period during which the
transfer occurs, then all of such items shall be allocated to the person who, according to the
books and records of the Company on the last day of the period during which the transfer occurs,
was the owner of the Unit or portion thereof. All Distributions shall be made to the holder of
record as reflected on the Company ' s books on the record date for such Distributions in
accordance with this Agreement. Neither the Board nor the Company shall incur liability for
making allocations and Distributions in accordance with the provisions of this Section 4.7,
whether or not the Board or the Company has knowledge of any transfer of ownership of any
Unit or portion thereof.

        4.8. Power of Board to Vary Allocations. It is the intent of the Members that each
Member's share of Net Income and Net Loss be determined and allocated in accordance with
Section 704(b) and Section 514( c)(9) of the Code and the provisions of this Agreement shall be
so interpreted. Therefore, if the Board is advised by the Company's legal counsel that the
allocations provided in this Section 4 are unlikely to be respected for federal income tax
purposes, the Board is hereby granted the power to amend the allocation provisions of this
Agreement to the minimum extent necessary to comply with Section 704(b) and Section


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514( c)(9) of the Code and effect the plan of allocations and distributions provided for in this
Agreement.

       4.9. Consent of Members. The allocation methods of Net Income and Net Loss are
hereby expressly consented to by each Member as a condition of becoming a Member.

5.        Distributions.

        5.1. General. The Board, in its sole discretion, shall determine when Cash from
Operations shall be distributed to Members. All Distributions shall be subject to maintaining the
Company in a sound financial and cash position, including the establishment of such reserves as
the Board determines in its sole discretion to be necessary and/or desirable in connection with
the Company's then current or anticipated operations. When, in the sole discretion of the Board,
the business of the Company no longer requires the maintenance of reserves, any remaining
reserves may be distributed pursuant to this Agreement. The Company initially intends to retain
Cash from Operations to fund the development and growth of its business and to pay down any
outstanding debt acquired by the Company in connection with the acquisition of the Company's
business. In the event any Members have provided personal guarantees on any Company debt, no
distributions to Members may be made while any such guarantees are in effect without the
consent of the Members who have provided any such personal guarantees.

        5 .2. Cash from Operations.        Except as otherwise provided herein, Cash from
Operations, to the extent determined by the Board to be available for Distribution to Members,
shall be distributed to the Members in proportion to their Units.

6.        Rights, Authority and Voting of the Members.

        6.1. Members Are Not Agents. Pursuant to Section 7, the management of the Company
is vested in the Board of Directors. No Member, acting solely in the capacity of a Member, is an
agent of the Company nor can any Member in such capacity bind nor execute any instrument on
behalf of the Company.

       6.2. Voting by a Member. Members shall be entitled to cast one vote for each Unit
they own. Except as otherwise specifically provided in this Agreement, Members (but not
Economic Interest Owners) shall have the right to vote only upon the following matters:

                  6.2.1.   The election and removal of Directors as provided in this Agreement;

                  6.2.2.   Except as otherwise provided herein, any material amendment of this
Agreement;

                  6.2.3.   Any merger or combination of the Company or roll-up of the
Company;

                 6.2.4.     Termination, dissolution, liquidation and winding up of the Company
as set forth in Section 12;




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               6.2.5.         The conversion of the Company from a limited liability company to a
corporation; and

                    6.2.6.    The sale of all or substantially all of the assets of the Company.

        6.3. Annual Meetings. A meeting of the Members shall be held annually at a time
specified by the Board, at which meeting the Members shall elect the Board of Directors and
transact such other business as may properly be brought before the meeting

        6.4. Special Meetings. Special meetings of the Members, for any purpose, unless
otherwise prescribed by statute, may be called by the Board, or by any two executive officers, or
by any two Directors, or by the holders of greater than 20% of the outstanding Units. Any such
request shall state the purposes of the proposed meeting.

       6.5. Majority Vote. Matters upon which the Members may vote shall require a
Majority Vote except as otherwise herein set forth or required by the Act. The Board shall
promptly implement any action approved by the Members pursuant to Section 6.2 and shall take
such actions as are necessary to reasonably effectuate all decisions made by the Members
pursuant to Section 6.2 or otherwise herein.

            6.6.   Conduct of Meetings.

                6.6.1.    Notice. Written notice of each meeting shall be given to each Member
entitled to vote. All such notices shall be sent not less than ten ( 10), nor more than sixty (60),
days before such meeting. The notice shall specify the place, date and hour of the meeting and
the general nature of business to be transacted, and no other business shall be transacted at the
meeting. If the Board shall fail to send a notice of a meeting within twenty (20) days of receiving
a request by a Member entitled to call a meeting pursuant to Section 6.4 herein, the Member
having made the written request therefore shall have the right to establish the time and place of a
meeting, and to send a written notice thereof otherwise in accordance with the provisions of this
Section 6.6.1 to all Members entitled to vote. All expenses of voting and notification shall be
borne by the Company.

               6.6.2.      Adjourned Meeting and Notice Thereof. When a meeting is adjourned
to another time or place, notice need not be given of the adjourned meeting if the time and place
thereof are announced at the meeting at which the adjournment is taken. At the adjourned
meeting, the Company may transact any business that might have been transacted at the original
meeting. If the adjournment is for more than forty-five (45) days or if after the adjournment a
new record date is fixed for the adjourned meeting, a notice of the adjourned meeting shall be
given to each Member entitled to vote at the meeting.

               6.6.3.      Quorum. The presence in person or by proxy of the persons entitled to
vote a majority of the Units shall constitute a quorum for the transaction of business. The
Members present at a duly called or held meeting at which a quorum is present may continue to
transact business until adjournment notwithstanding the withdrawal of enough Members to leave
less than a quorum, if any action taken (other than adjournment) is approved by at least a
Majority Vote or such greater vote as may be required by this Agreement or by law. In the
absence of a quorum, any meeting of Members may be adjourned from time to time by the vote


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of a majority of the Units represented either in person or by proxy, but no other business may be
transacted, except as provided above.

                6.6.4.     Consent of Absentees. The transactions of any meeting of Members,
however called and noticed and wherever held, are as valid as though they occurred at a meeting
duly held after regular call and notice, if a quorum is present either in person or by proxy, and if,
before or after the meeting, each of the persons entitled to vote, not present in person or by
proxy, signs a written waiver of notice, or a consent to holding of the meeting or an approval of
the minutes thereof. All waivers, consents, and approvals shall be filed with the Company
records or made a part of the minutes of the meeting. Attendance at a meeting shall constitute a
waiver of notice of the meeting except when the Person objects, at the beginning of the meeting,
to the transaction of any business because the meeting was not lawfully called or convened and
except that attendance at a meeting is not a waiver of any right to object to the consideration of a
matter required to be included in the notice but not so included, if the objection is expressly
made at the meeting.

                6.6.5.      Action Without Meeting. Except as otherwise provided in this
Agreement, any action which may be taken at any meeting of the Members may be taken without
a meeting if a consent in writing, setting forth the action so taken, shall be signed by Members
having not less than the minimum number of votes that would be necessary to authorize or take
that action at a meeting at which all entitled to vote thereon were present and voted. In the event
the Members are requested to consent on a matter without a meeting, each Member shall be
given not less than ten ( 10), nor more than sixty (60), days notice.

               6.6.6.      Record Dates. For purposes of determining the Members entitled to
notice of any meeting or to vote or entitled to receive any Distributions or to exercise any rights
in respect of any other lawful matter, the Board may fix in advance a record date, which is not
more than sixty (60) nor less than ten (10) days prior to the date of the meeting nor more than
sixty (60) days prior to any other action. If no record date is fixed:

                      (a)     The record date for determining Members entitled to notice of or to
vote at a meeting of Members shall be at the close of business on the business day next preceding
the day on which notice is given, or, if notice is waived, at the close of business on the business
day next preceding the day on which the meeting is held;

                    (b)    The record date for determining Members entitled to give consent
to Company action in writing without a meeting shall be the day on which the first written
consent is given;

                        (c)     The record date for determining Members for any other purpose
shall be at the close of business on the day on which the Board adopts it, or the sixtieth (60 th ) day
before the date of the other action, whichever is later; and

                      (d)   A determination of Members of record entitled to notice of or to
vote at a meeting of Members shall apply to any adjournment of the meeting unless the Board, or
the Members who requested the meeting fix a new record date for the adjourned meeting, but the




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Board, or such Members, shall fix a new record date if the meeting is adjourned for more than
forty-five (45) days from the date set for the original meeting.

                  6.6.7.     Voting; Proxies. A Member shall be entitled to cast one vote for each
Unit owned by such Member. Every person entitled to vote or execute consents shall have the
right to do so either in person or by one or more agents authorized by a written proxy executed
by such person or his or her duly authorized agent and filed with the Board. No proxy shall be
valid after the expiration of eleven (11) months from the date thereof unless otherwise provided
in the proxy. Every proxy continues in full force and effect until revoked as specified or unless it
states that it is irrevocable. A proxy that states that it is irrevocable is irrevocable for the period
specified therein or, if no period of irrevocability is stated therein, then for the period of the
validity of the proxy.

                 6.6.8.    Chairman of Meeting. The Board may select any person to preside as
Chairman of any meeting of the Members, and if such person shall be absent from the meeting,
or fail to be able to preside, the Board may name any other person in substitution therefore as
Chairman. The Chairman of the meeting shall designate a secretary for such meeting, who shall
take and keep or cause to be taken and kept minutes of the proceedings thereof. The conduct of
all Members' meetings shall at all times be within the discretion of the Chairman of the meeting
and shall be conducted under such rules as the Chairman may prescribe. The Chairman shall
have the right and power to adjourn any meeting at any time, without a vote of the Units present
in person or represented by proxy, if the Chairman shall determine such action to be in the best
interests of the Company.

                6.6.9.     Inspectors of Election. In advance of any meeting of Members, the
Board may appoint any persons other than nominees for the Board or other office as the
inspector of election to act at the meeting and any adjournment thereof. If an inspector of
election is not so appointed, or if any such person fails to appear or refuses to act, the Chairman
of any such meeting may, and on the request of any Member or such Member's proxy shall,
make such appointment at the meeting. The inspector of election shall determine the number of
Units outstanding and the voting power of each, the Units represented at the meeting, the
existence of a quorum, the authenticity, validity and effect of proxies, receive votes, ballots or
consents, hear and determine all challenges and questions in any way arising in connection with
the right to vote, count and tabulate all votes or consents, determine when the polls shall close,
determine the result and do such acts as may be proper to conduct the election or vote with
fairness to all Members.

               6.6.10.    Record Date and Closing Company Books. When a record date is
fixed, only Members of record on that date are entitled to notice of and to vote at the meeting or
to receive Distributions, or allotments of rights, or to exercise the rights, as the case may be,
notwithstanding any transfer of any Units on the books of the Company after the record date.

        6.7. Rights of Members. No Unit Holder shall have the right or power to: (i) cause the
dissolution and winding up of the Company by court decree or otherwise, except as set forth in
this Agreement; (ii) withdraw or reduce its contribution to the capital of the Company, except as
a result of the dissolution and termination of the Company or as otherwise provided in this
Agreement or by law; or (iii) demand or receive property other than cash in return for its


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Original Capital Investment. Except as provided in this Agreement, no Unit Holder shall have
priority over any other Unit Holder either as to the return of capital contributions or as to
allocations of the Net Income, Net Loss or Distributions of the Company. Other than upon the
termination and dissolution of the Company as provided by this Agreement, there has been no
time agreed upon when the contribution of each Unit Holder is to be returned. Notwithstanding
the foregoing, the Company may repurchase Units held by any one or more Unit Holders on such
terms and conditions as are approved by the Board in its sole and absolute discretion and, in
connection with any such repurchase, shall not be required to offer to repurchase the Units of any
other Unit Holder on the same or different terms.

           6.8.   Restrictions on Unit Holders. No Unit Holder shall:

               6.8.1.     Disclose to any non-Unit Holder other than its respective lawyers,
accountants or consultants and/or commercially exploit any of the Company' s business practices,
trade secrets or any other intellectual property, any proprietary or confidential information, or
any other information not generally known to Persons other than Unit Holders;

               6.8.2.   Do any other act or deed with the intention of harming the business
operations of the Company; or

                   6.8 .3.    Do any act contrary to this Agreement.

        6.9. Return of Distributions Paid to Unit Holder. In accordance with the Act, a Unit
Holder may, under certain circumstances, be required to return to the Company, for the benefit of
the Company's creditors, amounts previously distributed to the Unit Holder. If any court of
competent jurisdiction holds that any Unit Holder is obligated to make any such payment, and
such holding is not subject to appeal or further appeal or reconsideration, such obligation shall be
the obligation of such Unit Holder and not of the Company, the Board or any other Unit Holder.

7.         Management.

        7 .1.  Directors. The property and business of the Company shall be managed by its
Board, which may exercise all such powers of the Company and do all such lawful acts and
things on its behalf as are not, by statute, the Certificate or this Agreement, directed or required
to be exercised or done by the Members. Directors need not be Members.

        7.2.   Number of Directors. The authorized number of Directors on the Board shall not
be iess than three nor more than seven unless changed by a duly adopted amendment to this
Agreement. The exact number of Directors comprising the Board may be changed from time to
time by the Board within the limits specified by the preceding sentence provided that a reduction
in the number of Directors comprising the Board does not have the effect of removing a Director
from office prior to the expiration of such Director' s term.

        7.3. Election and Term of Directors; Vacancies. Directors shall be elected annually or
at such other times as may be determined by the Members, by election at the annual meeting or
by written consent of the Members in lieu of such meeting. Each Director shall hold office until a
successor is elected and qualified or until such Director' s earlier death, resignation, expulsion or
removal. The Board shall, as soon as reasonably practicable, fill any vacancy in the Board


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occurring for any reason, including death, resignation or disqualification, removal for cause or
without cause, an increase in the number of Directors, or otherwise.

        7.4.   Resignation and Removal. Any Director may resign at any time by written notice
to the Company and, unless otherwise restricted by law, the Members may remove any Director,
for cause or without cause.

       7.5.    Status of Directors Under Act and Applicable Law. Each Director is hereby
designated as a "manager" of the Company within the meaning of Section 7-80-102 of the Act.
Notwithstanding the provisions of Section 7-80-405(l)(b) of the Act, except as provided in this
Agreement or in a resolution of the Board, a Director may not bind the Company.

       7 .6.   Duty of Loyalty and Care. Except as otherwise provided herein, each Director
shall have a fiduciary duty of loyalty and care similar to that of a director of a business
corporation organized under the Colorado Business Corporation Act

       7.7.    Committees. The Board may designate from among its members committees that
may exercise any of the powers of the Board to the extent the Board so provides. The Board
from time to time may also designate advisory committees comprised of non-Directors to advise
the Board on such matters as the Board deems advisable.

        7.8.   Compensation of Directors; Expenses. The Board shall have the authority to fix
the compensation of Directors. The Directors may be paid their expenses, if any, of attendance
at meetings of the Board, which may be a fixed sum for attendance at each meeting of the Board
or a stated salary as Director. No such payment shall preclude any Director from serving the
Company in any other capacity and receiving compensation therefor. Members of special or
standing committees may be allowed like compensation for attending committee meetings.

             7.9.   Meetings of Board of Directors.

                       (a)    Regular and Special Meetings of the Board. The Board may hold
meetings, both regular and special, within or outside the State of Colorado. Regular meetings of
the Board may be held without notice at such time and at such place as shall from time to time be
determined by the Board. Special meetings of the Board may be called by the Chief Executive
Officer on not less than one day's notice to each Director by telephone, facsimile, mail, telegram
or any other means of communication, and special meetings shall be called by the Chief
Executive Officer in like manner and with like notice upon the written request of any one or
more of the Directors.

                        (b)    Quorum. At all meetings of the Board, a majority of the Directors
shall constitute a quorum for the transaction of business and, except as otherwise provided in any
other provision of this Agreement, the act of a majority of the Directors present at any meeting at
which there is a quorum shall be the act of the Board. If a quorum shall not be present at any
meeting of the Board, the Directors present at such meeting may adjourn the meeting from time
to time, without notice other than announcement at the meeting, until a quorum shall be present.

                     (c)    Electronic Communications. Members of the Board, or any
committee designated by the Board, may participate in meetings of the Board, or any committee,


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by means of telephone conference or similar communications equipment that allows all Persons
participating in the meeting to hear each other, and such participation in a meeting shall
constitute presence in Person at the meeting. If all the participants are participating by telephone
conference or similar communications equipment, the meeting shall be deemed to be held at the
principal place of business of the Company.

                       (d)    Director Consent in Lieu of Meetings. Any action of the Board or
any committee thereof required or permitted to be taken at any meeting of the Board or of any
committee thereof may be taken without a meeting if all of the members of the Board or
committee, as the case may be, consent thereto in writing and such writing or writings are filed
with the minutes of the proceedings of the Board or committee.

            7.10. Indemnific ation of Directors.

                7.10.1.    No Director shall have any liability to the Company or to any Member
for any loss suffered by the Company or any Member that arises out of any action or inaction of
the Board if the Board, in good faith, determined that such course of conduct was in the best
interests of the Company and such course of conduct did not constitute: (i) gross negligence,
willful misconduct or fraud on the part of the Board; (ii) a breach of the Board's fiduciary duties
to the Members; or (iii) a material and intentional breach of this Agreement. Moreover, no
member of the Board shall be liable to the Company or the Members because any taxing
authorities disallow or adjust any deductions or credits in the Company income tax returns.

                7 .10.2.    Each Director shall be indemnified and held harmless by the Company
(to the extent of the Company's assets) against any losses, judgments, liabilities, expenses
(including reasonable attorneys' fees) and amounts paid in settlement of any claims sustained by
such Director in connection with the Company, provided that the Director, in good faith,
determined that such course of conduct was in the best interests of the Company and the same
was not the result of (i) gross negligence, willful misconduct or fraud on the part of the Director;
(ii) a material breach of the Director's fiduciary duties to the Members; or (iii) a material and
intentional breach of this Agreement.

                7.10.3.      Notwithstanding the above, the Company shall not indemnify any
Director for liabilities arising under federal or state securities laws unless (i) there has been a
successful adjudication on the merits of each count involving securities law violations, or (ii)
such claims have been dismissed with prejudice on the merits by a court of competent
jurisdiction, and provided that a court either approves any settlement and finds that
indemnification of the settlement and related costs should be made or approves indemnification
of litigation costs if a successful defense is made, which court shall have been advised as to the
current position of the United States Securities and Exchange Commission (as to any claim
involving allegations of violation of the Securities Act) or the applicable state authority (as to
any claim involving allegations that the applicable state's securities laws were violated), and, in
this regard, a dismissal with prejudice on the merits is considered a successful defense; or (iii) in
the opinion of counsel for the Company, the right to indemnification has been settled by
controlling precedent. The Company shall not indemnify any other Person except as set forth
herein for liabilities arising under any federal or state securities law.



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                7.11 . Tax Matters Representative. The Members shall appoint a qualified representative
                     to act as the tax matters representative.


8.        Officers.

        8.1. Executive Officers. The executive officers of the Company shall be a Chief
Executive Officer, a President, a Chief Financial Officer, one or more Vice Presidents, a
Secretary and such other officers as the Board may from time to time appoint. Any number of
offices may be held by the same person, unless otherwise prohibited by law or this Agreement.
The executive officers of the Company shall exercise such powers and perform such duties as are
set forth herein and such additional powers and duties as the Board may at any time or from time
to time determine to be advisable, and shall be chosen annually by the Board at its first meeting
following the meeting of Members at which the Board was elected.

        8.2.    Powers and Duties. The officers of the Company shall have such powers and
duties in the management of the Company as may be prescribed in a resolution by the Board and,
to the extent not so provided, as generally pertain to their respective offices, subject to the
control of the Board. The Chief Executive Officer of the Company, subject to the direction of the
Board, shall have general charge of the business and affairs of the Company, shall have direction
over all other officers, agents and employees and may assign such duties to such other officers of
the Company as he or she deems appropriate.

         8.3. Tenure; Resignation; Removal: Vacancies. Each officer of the Company shall hold
office until such officer's successor is elected or appointed or until such officer's earlier
displacement from office by resignation, removal or otherwise; provided, that if the term of
office of any officer elected or appointed pursuant to this Agreement shall have been fixed by the
Board, such officer shall cease to hold such office no later than the date of expiration of such
term, regardless of whether any other person shall have been elected or appointed to succeed
such officer. Any officer may resign by written notice to the Company and may be removed for
cause or without cause by the Board, provided that any such removal shall be without prejudice
to the rights, if any, of the officer so removed under any employment contract or other agreement
with the Company. If the office of any officer becomes vacant for any reason, the vacancy may
be filled by the Board.

        8.4.    Officers as Agents. The officers of the Company, to the extent of their powers set
forth in this Agreement or otherwise vested in them by action of the Board not inconsistent with
this Agreement, are agents of the Company for the purpose of the Company's business, and the
actions of the officers taken in accordance with the terms hereof shall bind the Company.

       8.5.     Duty of Loyalty and Care. Each officer of the Company shall have a fiduciary
duty of loyalty and care similar to that of an officer of a business corporation organized under the
Colorado Business Corporation Act.

        8.6. Compensation of Officers and other Employees. In addition to the provisions of
Section 3.5 , the Board shall have the authority to fix the compensation and benefits of the
officers from time to time, and may, in its discretion, adopt equity, bonus or similar



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compensation plans in which the officers and/or other employees of the Company may
participate. Nothing herein shall preclude any officer or other employee from serving the
Company or any subsidiary of the Company in any other capacity, including as a director, and
receiving compensation therefore.

9.         Company Expenses; Insurance.

        9.1. Company Expenses. The Company may pay directly, or reimburse Directors,
officers or Members, as the case may be, for all of the costs and expenses of the Company's
operations, including, without limitation, any and all expenses advanced or to be advanced by
Directors, officers, Members or others.

        9.2. Insurance. The Board may, but is not required to, buy and maintain insurance on
behalf of any person who is or was a Director, officer, employee or agent of the Company, or is
or was serving at the request of the Company as a director, officer, employee or agent of another
company, partnership, joint venture, trust or other enterprise against any liability asserted against
such person and incurred by such person in any such capacity, or arising out of such person's
status as such, whether or not the Company would have the power to indemnify such person
against such liability under the Act. The Board also may, but is not required to, buy and maintain
key man life insurance for any person who is or was a Director, officer, employee or agent of the
Company, which may include any such insurance requested or required by and/or payable to a
lender who provides financing to the Company. Any such life insurance obtained may be used by
the Company to fund the purchase of a Member's Units by the Company in the event of the
death of a Member.

10.       Transfer of Units.

        10.1. Permitted Assignments. A Member may only sell, assign, hypothecate, encumber
or otherwise transfer any part (but not less than the lesser of (i) one Unit or (ii) the Member's
entire interest in the Company) or all of his or her interest in the Company if the following
requirements are satisfied:

                 10.1.1.       The Board consents in writing to the transfer;

                10.1.2.    No Member shall transfer, assign or convey or offer to transfer, assign
or convey all or any portion of a Unit to any Person who does not possess the financial and other
qualifications required of all Persons who become Members;

               10.1.3.   No Member shall have the right to transfer any Unit to any minor or to
any person who, for any reason, lacks the capacity to contract for himself or herself under
applicable law. Such limitations shall not, however, restrict the right of any Member to transfer
any one or more Units to a custodian or a trustee for a minor or other Person who lacks such
contractual capacity;

               10.1.4.     The Board, with advice of counsel, must determine that such transfer
will not jeopardize the applicability of the exemptions from the registration requirements under
the Securities Act, and registration or qualification under state securities laws relied upon by the



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Company in offering and selling the Units or otherwise violate any federal or state securities
laws;

                10.1.5.     The Board, with advice of counsel, must determine that, despite such
transfer, Units will not be deemed traded on an established securities market or "readily tradable
on a secondary market (or the substantial equivalent thereof)" under the provisions applicable to
publicly traded partnership status;

                 10.1.6.  Any such transfer shall be set forth in a written instrument of
assignment, the terms of which are not in contravention of any of the provisions of this
Agreement, and which have been duly executed by the assignor of such Units and accepted by
the Board in writing. Upon such acceptance by the Board, such an assignee shall take subject to
all terms of this Agreement and shall become an Economic Interest Owner;

               10 .1. 7.   The Board may require that a transfer fee be paid by the transferring
Member in such amount as may be determined by the Board to cover all reasonable expenses,
including attorneys' fees, connected with such assignment; and

                10.1.8.  The transfer will not result in qualified benefit plans owning twenty-
five percent (25%) or more of the Units.

              10.2. Substituted Member.

                10.2. l.   Conditions to be Satisfied. No Economic Interest Owner shall have
the right to become a Substituted Member unless the Board shall consent thereto in accordance
with Section 10.2.2 and all of the following conditions are satisfied:

                         (a)     A duly executed and acknowledged written instrument of
assignment shall have been filed with the Company, which instrument shall specify the number
of Units being assigned and set forth the intention of the assignor that the assignee succeed to the
assignor' s interest as a Substituted Member in his or her place;

                       (b)   The assignor and assignee shall have executed, acknowledged and
delivered such other instruments as the Board may deem necessary or desirable to effect such
substitution, which may include an opinion of counsel regarding the effect and legality of any
such proposed transfer, and which shall include: (i) the written acceptance and adoption by the
assignee of the provisions of this Agreement, and (ii) the execution, acknowledgement and
delivery to the Board of a special power of attorney, the form and content of which are more
fully described herein; and

                     (c)    To the extent required by the Board, a transfer fee sufficient to
cover all reasonable expenses connected with such substitution shall have been paid to the
Company.

               10.2.2.    Consent of Board. The consent of the Board shall be required to admit
an Economic Interest Owner as a Substituted Member. The granting or withholding of such
consent shall be within the sole and absolute discretion of the Board. The Board may elect
whether or not to treat an assignee who has not become a Substituted Member as a Substituted


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Member in the place of his or her assignor should the Board deem, in its sole and absolute
discretion, that such treatment is in the best interest of the Company.

              10.2.3.    Consent of Members. By executing or adopting this Agreement, each
Member hereby consents to the admission of additional or Substituted Members, and to any
Economic Interest Owner becoming a Substituted Member upon consent of the Board and in
compliance with this Agreement.

        10.3. Rights of Economic Interest Owner. An Economic Interest Owner shall be entitled
to receive Distributions from the Company attributable to the interest acquired by reason of such
assignment from and after the effective date of the assignment, provided the Economic Interest
Owner was such on the record date for such Distributions; provided, however, that
notwithstanding anything herein to the contrary, the Company shall be entitled to treat the
assignor of such interest as the absolute owner thereof in all respects, and shall incur no liability
for allocations of Net Income and Net Loss or Distributions, or for the transmittal of reports or
accounting until the written instrument of assignment has been received by the Company and
recorded on its books. The effective date of such assignment shall be the date on which all of the
requirements of this Section IO have been complied with, subject to Section 4.7.

        10.4. Right to Inspect Books. Economic Interest Owners shall have no right to inspect
the Company' s books and records, to vote on Company matters, or to exercise any other right or
privilege as Members, until they are admitted to the Company as Substituted Members except as
provided in the Act.

       10.5. Assignment of 50% or More of Units. No assignment of any Units may be made if
the Units to be assigned, when added to the total of all other Units assigned within the thirteen
(13) immediately preceding months, would, in the opinion of counsel for the Board, result in the
termination of the Company under the Code.

        10.6. Transfer Subject to Law. No assignment, sale, transfer, exchange or other
disposition of any Units may be made except in compliance with applicable governmental laws
and regulations, including state and federal securities laws.

         I 0.7. Termination of Membership Interest. Upon the transfer of a Unit in violation of
this Agreement, the Membership Interest of a Member shall be converted into an Economic
Interest.

          10.8. Involuntary Dispositions.

                10.8.1.    In the event any application to a competent court by any judgment
creditor of a Member to charge the Unit ownership of the debtor Member with payment of the
unsatisfied amount of such judgment debt, or for appointment of a receiver for the debtor
Member's Distributions, or in the event of any other form of legal proceedings or process by
which the Unit ownership of any Member may be sold, either voluntarily or involuntarily,
including, without limitation thereto, the filing of any petition by or against any Member under
any federal or state law pertaining to bankruptcy or insolvency, the other Members shall have the
right (unless said proceeding is discharged without prejudice) within ninety (90) days) to
purchase the Units of such Member. The other Members shall have fifteen (15) days after receipt


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of notice of any such occurrence within which to give written notice to the selling Member of
their election to purchase those Units. In the event more than one Member gives notice of its
intent to elect to purchase the Units of the selling Member, such electing Members shall be
entitled to purchase the Units on a pro rata basis.

                10.8.2.    The purchase price to be paid for any Units purchased pursuant to the
above Section 10. 8 .1 shall be the selling Member' s Adjusted Capital Investment on the date of
the institution of the proceedings giving rise to the transfer. Any amounts owed by the selling
Member to the Company, including the Company's expenses incurred in connection with said
purchase, shall be deducted from the purchase price.

11.       Books, Records, Accounting and Reports.

        11.1 . Records, Audits and Reports. The Company shall maintain at its principal office
the Company's records and accounts of all operations and expenditures of the Company
including the following :

               11.1.1.    A current list in alphabetical order of the full name and last known
business or resident address of each Unit Holder and Director, together with the capital
contribution and the share in income and losses of each Unit Holder;

            11.1.2.    A copy of the Certificate and all amendments thereto, together with
any powers of attorney pursuant to which the Certificate or any amendments thereto were
executed;

               11.1.3.    Copies of the Company's federal, state, and local mcome tax or
information returns and reports, if any, for the six (6) most recent taxable years;

             11 .1.4.  Copies of this Agreement and any amendments thereto, together with
any powers of attorney pursuant to which this Agreement or any amendments thereto were
executed;

               11.1. 5.    Copies of the financial statements of the Company, if any, for the six
(6) most recent fiscal years; and

             11.1.6.      The Company's books and records as they relate to the internal affairs
of the Company for at least the current and past four (4) fiscal years.

          11.2. Delivery to Unit Holders and Inspection.

              11.2.1.     Each Member, or its representative designated in writing, has the right,
upon reasonable written request for purposes related to the interest of that person as a Member,
which purposes are set forth in the written request, to receive from the Company:

                        (a)   True and full information regarding the status of the business and
financial condition of the Company;




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                        (b)    Promptly after becoming available, a copy of the Company's
federal, state and local income tax returns for each year;

                      (c)  A current list of the name and last known business, residence or
mailing address of each Member and Director;

                       (d)    A copy of this Agreement and the Certificate and all amendments
thereto, together with executed copies of any written powers of attorney pursuant to which this
Agreement and any certificate and all amendments thereto have been executed; and

                      (e)    True and full information regarding the amount of cash and
description and statement of the agreed value of any property or services contributed by each
Member and which each Member has agreed to contribute in the future, and the date on which
each became a Member.

                11.2.2.    Each Economic Interest Owner, or its representative designated in
writing, has the right, upon reasonable written request for purposes related to the interest of that
person as an Economic Interest Owner, which purposes are set forth in the written request, to
receive from the Company the items set forth in Section 11.2.1 (b ), (c) and (d) .

       11.3. Annual Report. The Board will cause the Company, at the Company' s expense, to
prepare an annual report containing a year-end balance sheet, income statement and a statement
of changes in financial position. Copies of such statements shall be distributed to each Member
within 120 days after the close of each fiscal year of the Company. Such annual report may or
may not be audited, in the Board's sole discretion.

         11.4. Tax Information. The Board shall cause the Company, at the Company's expense,
to prepare and timely file income tax returns for the Company with the appropriate authorities,
and shall cause all Company information necessary in the preparation of the Unit Holders '
individual income tax returns to be distributed to the Unit Holders not later than ninety (90) days
after the end of the Company's fiscal year. The Board shall also cause to be distributed a copy of
the Company' s tax return to a Member, ifrequested by such Member.

12.       Termination and Dissolution of the Company.

        12.1. Termination of Company. The Company shall be dissolved, shall terminate and its
assets shall be disposed of, and its affairs wound up upon the earliest to occur of the following:

                  12.1.1.   Upon the happening of any event of dissolution specified in the
Certificate;

                  12.1.2.   The determination by the Board at any time to dissolve and liquidate
the Company;

               12.1.3.      The determination of the Members, by Majority Vote, to dissolve and
liquidate the Company;

                  12.1.4.   Upon the entry of a decree of judicial dissolution;


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              12.1.5.    Total liquidation of all Property and provisions for all Company debts
and reasonably foreseeable contingent liabilities; or

               12.1.6.     Upon the sale of all Company assets and completion of collection of
all debts to the Company or the reasonable determination by the Board that all remaining
outstanding obligations to the Company are uncollectible or not economically collectible
(excluding obligations of the Directors, to which it shall have no such authority).

         12.2. Statement of Dissolution. As soon as possible following the occurrence of any of
the events specified in Section 12.1, the Board who has not wrongfully dissolved the Company
or, if none, the Members, shall execute and deliver to the Secretary of State of Colorado for
filing a Statement of Dissolution as shall be required by the Act.

        12.3. Liquidation of Assets. Upon a dissolution and termination of the Company, the
Board (or in case there is no Board, the Members or person designated by a Majority Vote) shall
take full account of the Company assets and liabilities, shall liquidate the assets as promptly as is
consistent with obtaining the fair market value thereof, and shall apply and distribute the
proceeds therefrom in the following order:

                12.3.1.   To the payment of creditors of the Company, other than Members who
are creditors, but excluding secured creditors whose obligations will be assumed or otherwise
transferred on liquidation of Company assets, and then to the payment of Members who are
creditors of the Company;

                12.3.2.   To the setting up of any reserves as deemed advisable or as otherwise
required by law for any liabilities or obligations of the Company; provided, however, that said
reserves shall be deposited with a bank or trust company in escrow with interest for the purpose
of disbursing such reserves for the payment of any of the aforementioned contingencies and, at
the expiration of a reasonable period, for the purpose of distributing the balance remaining in
accordance with the remaining provisions of this Section 12.3 to the Units Holders;

                  12.3 .3.   To the Unit Holders until their Adjusted Capital Investment is reduced
to zero;

               12.3.4.     To the Unit Holders until each Unit Holder has received the same
dollar amount of distributions under this Section 12.3 on a per Unit basis (i.e. , until distributions
to the Unit Holders have been equalized on a per Unit basis); and

                  12.3.5.    Thereafter, to the Unit Holders in proportion to their Units.

       12.4. Distributions Upon Dissolution. Each Member shall look solely to the assets of the
Company for all Distributions and the return of its capital contribution, and shall have no
recourse therefore (upon dissolution or otherwise) against any Director or any Member.

13.        Special and Limited Power of Attorney.

       13 .1. Power of Attorney. By executing a subscription agreement in connection with the
purchase of Units, a written instrument of assignment pursuant to Section 10.2.1, or this


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Agreement, each Unit Holder hereby constitutes and appoints, at all times during the term of the
Company, the Board as the attorney-in-fact for each Member, with power and authority to act in
the name and on behalf of each such Member to execute, acknowledge, and swear to in the
execution, acknowledgement and filing of documents that are not inconsistent with the
provisions of this Agreement and which may include, by way of illustration but not by limitation,
the following:

                   13.1.1.   This Agreement, as well as any amendments thereto;

               13.1.2.   The Certificate, as well as any amendments thereto, or any other
instrument or document that may be required under the laws of any state or by any governmental
authority;

               13 .1. 3.  Any instrument or document that may be required to effect the
continuation of the Company, the admission of Substituted Members, or the dissolution and
termination of the Company (provided such continuation, admission or dissolution and
termination are in accordance with the terms of this Agreement); and

              13 .1.4.  Any deed, deed of trust, mortgage, security device, or other instrument
of conveyance or encumbrance, with respect to Property.

       13.2. Notice to Members. The Board shall promptly furnish to a Member a copy of any
amendment to this Agreement executed by a member of the Board, on behalf of the Board,
pursuant to a power of attorney from the Member.

14.   Death, Bankruptcy, Incapacity, Marital Dissolution of a Member or Termination of
Employment of an Employee-Member.

           14.1.   Death of a Member.

                 14.1.1.      The death of a Member shall not terminate the Company. Upon the
death of a Member, the personal representative of the deceased Member shall have all the rights
of the Member in the Company to the extent of the deceased Member's interest therein, subject
to the terms and conditions of this Agreement, and the estate of the deceased Member shall be
liable for all his or her liabilities as a Member, as well as the execution of all documents required
to effect the appropriate substitution of the decedent's estate or beneficiary as a Member
hereunder.

                 14.1.2.     The decedent's estate or beneficiary (successor in interest) shall be, at
such time as said successor in interest is legally recognized as the owner of such decedent's
interest, a full Substituted Member without the necessity of complying with any of the provisions
of Section 10, except those provisions contained in Section 10.2. However, during probate of the
decedent's estate and if such Company interest is subject to such probate, then in such event such
successor in interest during probate shall be treated as an Economic Interest Owner and not a full
Substituted Member until such time as probate closes by evidence satisfactory to the Board.

               14.1.3.     If the decedent was an employee of the Company, the Company shall
have the option, in its sole discretion, to repurchase the units held by such employee-member at


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the Purchase Price noted in Section 14.6, by giving notice to the personal representative or
successor to the decedent within ninety (90) days of the decedent's date of death, with a closing
to occur within ninety (90) days after the sending of such notice. Payment shall be made as
follows: - ten percent (10%) down at the closing followed by 10 annual amortized payments of
principal and interest at the Applicable Federal Rate at the time of the closing. Such annual
payments shall begin one (1) year after the closing.

          14.2. Bankruptcy of a Member.

                 14.2.1.  If a Member should voluntarily file a petition to declare bankruptcy or
should voluntarily or involuntarily commit any act of bankruptcy or is adjudged bankrupt or any
chapter proceeding under federal or state bankruptcy or insolvency law is instituted on its behalf
(in the event of an involuntary petition in bankruptcy against such Member), then during such
bankruptcy proceedings, no matter how initiated and until the Member is adjudicated bankrupt,
the Member shall not have any other rights herein, including voting rights, other than the right to
receive Distributions and allocations, and neither shall the Member's successor in interest during
bankruptcy proceedings, no matter how initiated, have any voting or other rights herein. The
interest of said Member during such times as above described shall be in the nature of an interest
held by an Economic Interest Owner.

                14.2.2.     It is the intention of this Company and its Members that only the
beneficial interest of the bankrupt Member will be vested in said Member or its successor and the
consequences of any bankruptcy shall not interfere with the operations of the Company, except
as provided herein.

               14.2.3.    At such time as bankruptcy is legally terminated to the satisfaction of
the Board and if the bankrupt Member after bankruptcy still owns the beneficial interest of its
Units, then said Member will at said time be vested again with full voting rights. If after
bankruptcy the Member's creditors or anyone else is the beneficial owner of the bankrupt
Member's interest in this Company, then such successor will not have any voting or other similar
powers hereunder, and such successor shall be treated as an Economic Interest Owner hereunder
unless and until such successor is approved of as a full Substituted Member pursuant to the terms
of this Agreement.

                14.2.4.    If the bankrupt is an employee of the Company, the Company shall
have the option, in its sole discretion to repurchase the units held by such employee-member at
the Purchase Price noted in Section 14.6, by giving notice to the trustee in bankruptcy or the
employee-member within ninety (90) days of the filing date of the bankruptcy, with a closing to
occur within ninety (90) days after the sending of such notice. Payment shall be made as
follows: - ten percent (10%) down at the closing followed by 10 annual amortized payments of
principal and interest at the Applicable Federal Rate at the time of the closing. Such annual
payments shall begin one (1) year after the closing.

          14.3.   Insanity or Incapacity of a Member.

                   14.3 .1. In the event of the insanity or incapacity (determined by the proper
authority or court of law having jurisdiction over such matters) of a Member, the interest of the



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insane or incapacitated Member shall, from the date such is determined or decreed, not carry or
be entitled to any voting rights or similar powers hereunder, even if such Member has a legal
guardian or conservator or any other legal representative appointed over the Member's affairs.
At such time as that Member is determined to be legally sane or capable by the proper authority
or court of law having jurisdiction over such matters, irrespective of the place of residency, then
the voting rights and similar powers of that Member's interest shall again be fully vested in such
Member. In the interim the interest of the Member shall be in the nature of an interest held by an
Economic Interest Owner.

               14.3.2.    If the insane or incapacitated member is an employee of the Company,
the Company shall have the option, in its sole discretion to repurchase the units held by such
employee-member at the Purchase Price noted in Section 14.6, by giving notice to the employee-
member or his/her guardian or conservator within ninety (90) days of the determination of such
insanity or incompetence as note in 14.3.1, with a closing to occur within ninety (90) days after
the sending of such notice. Payment shall be made as follows: - ten percent (10%) down at the
closing followed by 10 annual amortized payments of principal and interest at the Applicable
Federal Rate at the time of the closing. Such annual payments shall begin one (1) year after the
closing.

           14.4.   Marital Dissolution of a Member.

                14.4.1.   If a Member or the spouse of a Member should become involved in
legal proceedings for dissolution, separation, or divorce from their spouse, during such
proceedings, no matter how or when initiated and until the Unit ownership of this Company, or
defined percentages thereof, is confirmed (by the Court with jurisdiction over such ownership) as
the separate property of one spouse, said Member shall not have any voting rights herein.
Interest of the Member shall be in the nature of an interest held by an Economic Interest Owner.

                14.4.2.     It is the intention of this Company and its Members that only the
beneficial interest of the involved Member will remain with said Member, and the consequences
of such legal proceedings shall not interfere with the operation of this Company.

                14.4.3.    At such time as the ownership of the Units is confirmed or decided by
the court in proportions or in total, then said party shall be vested again with full voting rights,
singly or jointly in whatever proportions determined by said court.

                14.4.4.     If the member who has become involved in legal proceedings for
dissolution, separation, or divorce from their spouse is an employee of the Company, the
Company shall have the option, in its sole discretion to repurchase the units held by such
employee-member, which have been ordered by the court to be given to the employee's spouse
at the Purchase Price noted in Section 14.6, by giving notice to the employee-member or his/her
spouse within ninety (90) days of the receipt of notice by the Company of the court's decision to
grant units held by the employee-member to the spouse, with a closing to occur within ninety
(90) days after the receipt of such notice. Payment shall be made as follows: - ten percent (10%)
down at the closing followed by 10 annual amortized payments of principal and interest at the
Applicable Federal Rate at the time of the closing. Such annual payments shall begin one (1)
year after the closing.


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        14.5 In the event that an employee-member of the Company shall leave the employ of
the Company, voluntarily or involuntarily within 24 months of the commencement of their
employment with the Company the Company shall have the option, in its sole discretion to
repurchase the units held by such employee-member, at the Purchase Price noted in Section 14.6,
by giving notice to the employee-member within ninety (90) days of such termination of
employment, with a closing to occur within ninety (90) days after the receipt of such notice.
Payment shall be made as follows: - ten percent ( 10%) down at the closing followed by 10
annual amortized payments of principal and interest at the Applicable Federal Rate at the time of
the closing. Such annual payments shall begin one (1) year after the closing

        14.6 The Purchase Price of the units with respect to 14.1.3, 14.2.4, 14.3.2, 14.4.4 and
14.5 shall, for the first twenty-four (24) months after the execution of this Agreement be equal to
the net book value of the Company, divided by the number of units outstanding at the date of the
event noted in the aforementioned sections, times the number of units, which the Company has
an option to re-purchase. At any time after such twenty-four (24) month period, the value of the
units shall be based on an appraisal conducted by a qualified appraiser selected by the outside
CPA preparing the financial statements or tax returns of the Company and shall take into account
minority interest and marketability discounts deemed applicable by such appraiser.

15.        Amendment of Agreement.

        15 .1. Admission of Member. Amendments to this Agreement for the admission of any
Member or Substituted Member shall not, if in accordance with the terms of this Agreement,
require the consent of any Member.

        15.2. Amendments with Consent of the Members. ln addition to any amendments
otherwise authorized herein, this Agreement may be amended by the Board with a Majority Vote
of the Units; provided, however, that any amendment that would treat a specific Member less
favorably than another Member (in application but not in effect), then such amendment shall
require the vote of such adversely affected Member.

        15.3 . Amendments without Consent of the Members. In addition to the Amendments
authorized pursuant to Section 4.8 or otherwise authorized herein, the Board may amend this
Agreement, and, as necessary, the Certificate, without the consent of any of the Members by
special or general power of attorney or otherwise, to:

                       (a)    Change the name and/or principal place of business of the
Company;

                         (b)    Add to the representations, duties, services or obligations of the
Board or surrender any right or power granted to the Board herein (so long as such surrender
does not impair the ability of the Board to manage the Company and conduct its business and
affairs) for the benefit of the Members;

                     (c)    Delete or add any provisions of this Agreement required to be so
deleted or added for the benefit of the Members by the staff of the Securities and Exchange
Commission or by a state "Blue Sky" Commissioner or similar official;



{2 0363288/2 I                            - 28 -                                         Rev A 8-12-21
                       (d)    Minimize the adverse impact of, or comply with, any final
regulation of the United States Department of Labor, or other federal agency having jurisdiction,
defining "plan assets" for ERISA purposes;

                             (e)   Reconstitute the Company under the laws of another state if
beneficial;

                             (t)   Appoint a different "tax matters partner;"

                    (g)    Take such steps as the Board deems advisable to preserve the tax
status of the Company as an entity that is not taxable as a corporation for federal income tax
purposes;

                      (h)    Revise the prov1s1ons of Section 4 to better ensure that the
allocation of Net Income and Net Loss under this Agreement will be respected for federal
income tax purposes, provided that any revision based on this subsection shall not reduce
Distributions to Members or impose an obligation to restore an Adjusted Capital Account Deficit
and shall be consistent, to the extent possible, with the allocations set forth in Section 4
immediately prior to such amendment;

                       (i)     Make any changes to this Agreement as requested or required by
any lender or potential lender that may be required to obtain financing; and

                    (j)   As long as such action shall not materially and adversely affect the
Members, any other amendments similar to the foregoing.

        15.4. Execution and Recording of Amendments. Any amendment to this Agreement
shall be executed by a Director as attorney-in-fact for the Members pursuant to the power of
attorney contained in Section 13. After the execution of such amendment, the Board shall also
prepare and record or file any certificate or other document which may be required to be
recorded or filed with respect to such amendment, either under the Act or under the laws of any
other jurisdiction in which the Company holds any Property or otherwise does business.

16.         Miscellaneous.

         16. l. Counterparts. This Agreement may be executed in several counterparts, and all so
executed shall constitute one Agreement, binding on all of the parties hereto, notwithstanding
that all of the parties are not signatory to lhe original or the same counterpart. The exchange of
copies of this Agreement and of signature pages by facsimile transmission or other electronic
means shall constitute effective execution and delivery of this Agreement as to the parties and
may be used in lieu of the original Agreement for all purposes. Signatures of the parties
transmitted by facsimile or other electronic means shall be deemed to be their original signatures
for all purposes.

       16.2. Successors and Assigns. The terms and provisions of this Agreement shall be
binding upon and shall inure to the benefit of the successors and assigns of the respective
Members.



l 2 0363288/2 }                                - 29 -                                  Rev A 8-12-21
        16.3. Severability. In the event any sentence or section ofthis Agreement is declared by
a court of competent jurisdiction to be void, such sentence or section shall be deemed severed
from the remainder of this Agreement and the balance of this Agreement shall remain in full
force and effect.

        16.4. Notices. All notices, consents, waivers and other communications required or
permitted under this Agreement must be in writing and will be deemed to have been given by a
party (a) when delivered by hand; (b) one day after deposit with a nationally recognized
overnight courier service; (c) upon first attempted delivery after deposit in the United States
mail, if sent by certified mail, return receipt requested, except that notice of any meeting or the
furnishing of any financial statement to the Members may be done by regular mail and will be
deemed delivered five days after deposit in the United States mail; or (d) when sent by facsimile
with confirmation of transmission by the transmitting equipment (a confirming copy of the
notice shall also be delivered by the method specified in (b) above), in each case costs prepaid
and addressed to the party to be notified at the address indicated for such party on the
Company's books if to a Member, or if no such address appears, at the principal executive office
of the Company, or to the address of the Company indicated herein if to the Board, or at such
other address as such party may designate by ten (10) days advance written notice to the other
party or parties.

        16.5. Governing Law. The laws of the state of Colorado (without giving effect to its
conflicts of laws principles) govern all matters arising out of or relating to this Agreement and all
of the transactions it contemplates, including without limitation, its validity, interpretation,
construction, performance, and enforcement.

       16.6. Captions. Section titles or captions contained in this Agreement are inserted only
as a matter of convenience and reference. Such titles and captions in no way define, limit,
extend or describe the scope of this Agreement nor the intent of any provisions hereof.

        16.7. Number and Gender. Whenever required by the context hereof, the singular shall
include the plural, and vice versa, and the masculine gender shall include the feminine and neuter
genders, and vice versa.

        16.8. Additional Documents. Each Member, upon the request of the Chief Executive
Officer or other authorized officer of the Company, shall perform any further acts and execute
and deliver any documents that may be reasonably necessary to carry out the provisions of this
Agreement, including, but not limited to, providing acknowledgment before a notary public of
any signature made by a Member.

         16.9. Disputes and Binding Arbitration. Any dispute or controversy arising under, out
of, or in connection with or in relation to this Agreement, or the breach thereof, or any offering
of Units or an investment in the Units shall be determined and settled by binding arbitration to be
held in the County of Denver, Colorado, in accordance with the then applicable rules of the
American Arbitration Association, and judgment entered upon the award rendered may be
enforced by appropriate judicial action. The arbitration panel shall consist of one member,
which shall be the mediator if mediation has occurred or shall be a person agreed to by each
party to the dispute within 30 days following notice by one party that it desires that a matter be


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arbitrated. If there was no mediation and the parties are unable within such 30-day period to
agree upon an arbitrator, then the panel shall be one arbitrator selected by the Denver office of
the American Arbitration Association, which arbitrator shall be experienced in and
knowledgeable with respect to the subject matter area of the dispute. The losing party shall bear
any fees and expenses of the arbitrator, other tribunal fees and expenses, reasonable attorneys'
fees of both parties, any costs of producing witnesses and any other reasonable costs or expenses
incurred by such losing party and the prevailing party or such costs shall be allocated by the
arbitrator. The arbitration panel shall render a decision within 30 days following the close of
presentation by the parties of their cases and any rebuttal. The parties shall agree within 30 days
following selection of the arbitrator to any prehearing procedures or further procedures necessary
for the arbitration to proceed, including interrogatories or other discovery. No incidental,
special, consequential or punitive damages may be awarded against any party.

        16.10. Integrated and Binding Agreement.       This Agreement contains the entire
understanding and agreement among the parties with respect to the subject matter hereof, and
there are no other agreements, understandings, representations or warranties among the parties
other than those set forth herein, and in any materials constituting "offering materials" and
provided in connection with an offering of Units by the Company, as applicable. This
Agreement may be amended only as provided in this Agreement.

        16.11. Not for Benefit of Creditors. The provisions of this Agreement are intended only
for the regulation of relations among Members and between Members and putative Members and
the Company. This Agreement is not intended for the benefit of non-Member creditors and no
rights are granted to non-Member creditors under this Agreement.

         16.12. Legal Representation and Independent Counsel. The law firm of Samuel David
Cheris, Esq. has prepared this Agreement on behalf of the Company based on the Company's
instructions. Samuel David Cheris, Esq. does not represent any other party to this Agreement. In
executing this Agreement, each Director and Member represents that such Director or Member
has neither requested nor been given legal advice or counsel by Samuel David Cheris, Esq. or
any of its attorneys. Each Director and Member is aware of such Director's or Member's right to
obtain separate legal counsel with respect to the negotiation and execution of this Agreement and
acknowledges that Samuel David Cheris, Esq. has recommended that each Director and Member
retain his or her own counsel for such purpose. Each Director and Member further acknowledges
that such Director or Member (i) has read this Agreement and its exhibits and attachments; (ii)
has had the opportunity to retain separate counsel in connection with the negotiation and
execution of this Agreement; and (iii) has relied on the advice of separate counsel with respect to
this Agreement or made the conscious decision not to retain counsel in connection with the
negotiation and execution of this Agreement. In addition, each Member consents to the Board
hiring counsel for the Company that is also counsel to a Director, an officer, a Member, or any of
their respective Affiliates.

        16.13 .Reconstitution in Another State. If the State of Colorado amends the Act in any
manner that precludes the Company, at any time, from obtaining an opinion of tax counsel to the
effect that the Company shall be treated as a partnership for federal income tax purposes and not
as an association taxable as a corporation, the Board may, in its sole discretion, reconstitute the
Company under the laws of another state.


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        16. 14.Title to Company Property. All Property shall be owned by the Company as an
entity and, insofar as permitted by applicable law, no Member shall have any ownership interest
in any Property in its individual name or right, and each Member' s Membership Interest shall be
personal property for all purposes.

        16.15.Relationship of This Agreement to the Act. Many of the terms of this Agreement
are intended to alter or extend provisions of the Act as they may apply to the Company or the
Members. Any failure of this Agreement to mention or specify the relationship of such terms to
provisions of the Act that may affect the scope or application of such terms shall not be
construed to mean that any of such terms is not intended to be a limited liability company
agreement provision authorized or permitted by the Act or which in whole or in part alters,
extends or supplants provisions of the Act as may be allowed thereby .

                                [Signatures on following page.]




( Z0363288/2 }                           - 32 -                                       Rev A 8- 12-21
      IN WITNESS WHEREOF, the undersigned have set their hands to this Agreement as of
August 12, 2021.

                                        MEMBERS:


                                              Nicole Thibault, successor in interest,
                                              authorized representative and/or surviving
                                              spouse to Glenn Thibault




                                              Thane Palmer

                                        Jam Three Points Holdings LLC

                                       By: _ _ _ _ _ _ _ _ _ _ __
                                       Name:- - - - - - - - - - - -
                                       Title:- - - - - - - - - - - -


                                              Larry Gabele




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                                              Dave Strang

                                        Due in Altum, LLC

                                       Ry: _ _ _ _ _ _ _ _ __
                                       Name:- - - - - - - - - - - -
                                       Title:- - - - - - -- - - - -

                                       Houghton Financial Management, LLC

                                       By: _ _ _ _ _ _ _ _ __
                                       Name:- - - - - - - - - - -
                                       Title:- - - - - - - - - - - -




{20363288/2 }                        - 33 -                                                    Rev A 8-12-21
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                                              Nicole Thibault, successor in interest,
                                              authorized representative and/or surviving
                                              spouse to Glenn Thibault


                                              Dr. Norm Thibault


                                              Thane Palmer

                                        Jam Three Points Holdings LLC

                                       By: _ _ _ _ _ _ _ _ _ _ _ __
                                       Name: - - - - - - - - - - -
                                       Title: - - - - - - - - - - - -


                                              Larry Gabele


                                              Michael Thompson




                                        Due in Altum, LLC

                                       By: _ _ _ _ _ _ _ _ _ _ _ __
                                       Name: _ _ _ _ _ _ _ _ _ __
                                       Title:- - - - - - - - - - - -

                                       Houghton Financial Management, LLC

                                       By: _ _ _ _ _ _ _ _ __
                                       Name:- - - - - - - - - - -
                                       Title: - - - - - - - - - - - -




{20363288/2 }                        - 33 -                                     Rev A 8-12-21
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August 12, 2021.

                                        MEMBERS:


                                                 Nicole Thibault, successor in interest,
                                                 authorized representative and/or surviving
                                                 spouse to Glenn Thibault


                                                 Dr. Norm Thibault


                                                 Thane Palmer

                                       Jam Three Points Holdings LLC

                                       By: _ _ _ _ _ _ _ _ __
                                       Name: - - - - - - - - - - - -
                                       Title:- - - - - - - - - - - -


                                                 Larry Gabele


                                                 Michael Thompson


                                                 Michael Perez


                                                 Dave Strang




                                       By:_-+1+--=-.:....:::....._.::,~l'>-oe-----...---
                                       Name:_--+-:i----J..!.~~++'...::::,,i_,....,_..:,,..J~~
                                       Title: _ _'11--t,-:,;;,,.,.+-W-""'------

                                       Houghton Financial Management, LLC

                                       By: _ _ _ _ _ _ _ _ _ _ _ __
                                       Name: _ _ _ _ _ _ _ _ _ _ __
                                       Title:- - - - - - - - - - - -




{Z03632 8&12   l                     - 33 -                                                     Rev A 8-12-21
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August 12, 2021.




                                       ~-~L&  Nicole Thibault, successor in interest,
                                              authorized representative and/or surviving
                                              spouse to Glenn Thibault


                                              Dr. Norm Thibault


                                              Thane Palmer

                                        Jam Three Points Holdings LLC

                                        By: _ _ _ _ _ _ _ _ _ _ __
                                        Name:
                                        Title:
                                              -----------
                                              -----------
                                              Larry Gabele


                                              Michael Thompson


                                              Michael Perez


                                              Dave Strang

                                        Due in Altum, LLC

                                       By: _ _ _ _ _ _ _ _ _ _ __
                                       Name:
                                       Title:
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                                              -----------
                                       Houghton Financial Management, LLC

                                       By: _ _ _ _ _ _ _ _ _ _ __
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                                       Title: _ _ _ _ _ _ _ _ _ __




{Z0363288/2 }                        - 33 -                                     Rev A 8-12-21
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                                              ~~
                                              Dr. Norm Thibault


                                              Thane Palmer

                                        Jam Three Points Holdings LLC

                                        By: _ _ _ _ _ _ _ _ _ _ __
                                        Name: - - - - - - - - - - -
                                        Title: - - - - - - - - - - - -


                                              Larry Gabele


                                              Michael Thompson


                                              Michael Perez


                                              Dave Strang

                                        Due in Altum, LLC

                                       By: _ _ _ _ _ _ _ _ _ _ __
                                       Name:
                                              -----------
                                       Title:- - - - -- -

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{20363288/2   l                      - 33 -                                     Rev A 8-12-21
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                                              spouse to Glenn Thibault


                                              Dr. Norm Thibault


                                              Thane Palmer




                                              Larry Gabele


                                              Michael Thompson


                                              Michael Perez


                                              Dave Strang

                                       Due in Altum, LLC

                                       By: _ _ _ _ _ _ _ _ __
                                       Name: _ _ _ _ _ _ _ _ _ __
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                                       Houghton Financial Management, LLC

                                       By: _ _ _ _ _ _ _ _ _ _ __
                                       Name: _ _ _ _ _ _ _ _ _ __
                                       Title: _ _ _ _ _ _ _ _ _ __




{20363288/2 }                        - 33 -                                     Rev A 8-12-21
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                                              Nicole Thibault, successor in interest,
                                              authorized representative and/or surviving
                                              spouse to Glenn Thibault


                                              Dr. Norm Thibault


                                              Thane Palmer

                                        Jam Three Points Holdings LLC

                                        By: _ _ _ _ _ _ _ _ _ _ __
                                        Name: - - - - - - - - - - -
                                        Title: - - - - - - - - - - - -




                                              Michael Perez


                                              Dave Strang

                                        Due in Altum, LLC

                                       By: _ _ _ _ _ _ _ _ __
                                       Name:
                                               -----------
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                                        Houghton Financial Management, LLC

                                       By: _ _ _ _ _ _ _ _ _ _ __
                                       Name:- - - - - - - - - - -
                                       Title:- - - - - - - - - - - -




{20363288/2 }                        - 33 -                                     Rev A 8-12-21
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August 12, 2021.

                                        MEMBERS :


                                                 Nicole Thibault, successor in interest,
                                                 authorized representative and/or surviving
                                                 spouse to Glenn Thibault


                                                 Dr. Norm Thibault


                                                 Thane Palmer

                                        Jam Three Points Holdings LLC

                                        By: _ _ _ _ _- + - - - - - - t ' - t - - - -
                                        Name: - - - - - - - - - R c - - - - H - - - -
                                        T itle:~-----+------+---




                                                 Michael Thompson


                                                 Michael Perez


                                                 Dave Strang

                                        Due in Altum, LLC

                                       By: _ _ _ _ __ _ _ _ _
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                                       Title:- - - - - - - - - - - -

                                       Houghton Financial Management, LLC

                                       By:_ _ _ _ _ _ _ _ __
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                                       Title: - - -- - - - -- - - -




(Z0363288/2 }                        - 33 -                                             Rev A 8-12-21
                  BOARD OF DIRECTORS (MANAGERS):




                               Nicole T h i b a ~ i r ~

                         L.-


                               Thane Palmer, Director




                  ~
                           ✓~  D(.dAderson, D'1rector




{Z0363288/2 }   - 34 -                                    Rev A 8-12-21
                   BOARD OF DIRECTORS (MANAGERS):




                         Dr. Norm Thibault, Director


                         Thane Palmer, Director


                         Todd Houghton, Director


                         David Anderson, Director




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                                          EXHIBIT A

                                      LIST OF MEMBERS

Name of Member                                          Number of Units

Nicole Thibault (successor in interest, authorized           1,437
representative and/or surviving spouse)
Norm Thibault                                                474
Thane Palmer                                                 225
Jam Three Points Holdings LLC                                405
Larry Gabele                                                  81
Michael Thompson                                              81
Michael Perez                                                 42
Dave Strang                                                   81
Due in Altum, LLC                                             33
Houghton Financial Management, LLC                            141


TOTAL                                                        3,000




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